       Case 1:18-cv-02260-RA-BCM Document 30 Filed 09/21/18 Page 1 of 2

                                                                  USDC-SDNY
                                                                  DOCUMENT
UNITED STATES DISTRICT COURT                                      ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                     DOC#:
                                                                  DATE FILED: 9/21/2018
 LIZA RIOS,

                               Plaintiff,                       18-CV-2260 (RA)
                        V.
                                                      ORDER ADOPTING REPORT AND
 RED BUBBLE, INC., et al.,                                RECOMMENDATION

                               Defendants.

RONNIE ABRAMS, United States District Judge:

       Plaintiff Liza Rios brings this action pro se, fee paid, seeking damages against seven

corporate defendants for allegedly infringing on her registered trademark. Only four of those

defendants remain in the case-but there is no indication that any of them have been properly

served with the summons and Complaint under Federal Rule of Civil Procedure 4. Before the

Court is the August 28, 2018 Report and Recommendation of the Hon. Barbara Moses (the

"Report"), which recommends dismissing Plaintiffs claims against the four absent defendants

without prejudice pursuant to Federal Rule of Civil Procedure 4(m) and 12(b)(5). See R. & R.

(Dkt. 28).

       A district court "may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate judge." 28 U.S.C. § 636(b)(l). Parties may object to a

magistrate judge's recommended findings "[ w]ithin 14 days after being served with a copy of the

recommended disposition." Fed. R. Civ. P. 72(b)(2). That deadline is extended to 17 days when

service is made by mail. See Fed. R. Civ. P. 6(d). "The district court may adopt those portions of

a report and recommendation to which no timely objections have been made, provided no clear

error is apparent from the face of the record." Hancock v. Rivera, No. 09-CV-7233 (CS) (GAY),

2012 WL 3089292, at *1 (S.D.N.Y. July 30, 2012) (internal citation omitted).
       Case 1:18-cv-02260-RA-BCM Document 30 Filed 09/21/18 Page 2 of 2



        Plaintiffs deadline for objecting to the Report has passed, and Plaintiff has not objected to

Judge Moses' thorough and well-reasoned Report. The Court thus reviews the Report for clear

error and, finding none, adopts the Report in its entirety. Accordingly, Plaintiffs claims against

the four defendants who have not appeared-RedBubble, Inc., Society 6, LLC, Cloudfare, Inc.,

and Amazon.com, LLC-are dismissed without prejudice.

       The Clerk of Court is respectfully directed to mail a copy of this Order to Plaintiff and to

close the case.

SO ORDERED.

 Dated:           September 21, 2018
                  New York, New York
                                                     Ro ieAbrams
                                                     Un ed States District Judge
